JS 44 (Rev. 10/20)                      Case 6:21-cv-00292-ADA
                                                          CIVILDocument
                                                                COVER 1-5  Filed 03/25/21 Page 1 of 1
                                                                        SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                                                                    DEFENDANTS
                                                                                                                                                     Samsung Electronics Co., Ltd. and Samsung Electronics
            LED Wafer Solutions LLC
                                                                                                                                                     America, Inc.
     (b)   County of Residence of First Listed Plaintiff                                                                                             County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                     NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                 THE TRACT OF LAND INVOLVED.

     (C)   Attorneys (Firm Name, Address, and Telephone Number)                                                                                       Attorneys (If Known)

            E. Leon Carter, Carter Arnett PLLC, 8150 N. Central
            Expressway, Suite 500, Dallas, Texas 75206
II. BASIS OF JURISDICTION                                            (Place an "X" in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES                                          (Place an "X" in One Box for Plaintiff
                                                                                                                                                (For Diversity Cases Only)                                          and One Box for Defendant)
01      U.S. Government                       03              Federal Question                                                                                           PTF             DEF                                           PTF       DEF
           Plaintiff                                            (U.S. Government Not a Party)                                             Citizen of This State            1   O        0          Incorporated or Principal Place         4       O
                                                                                                                                                                                                                                                 0 4
                                                                                                                                                                                                     of Business In This State

02      U.S. Government
           Defendant
                                              04             Diversity
                                                               (Indicate Citizenship of Parties in Item Ill)
                                                                                                                                          Citizen of Another State             02
                                                                                                                                                                                        □      2   Incorporated and Principal Place
                                                                                                                                                                                                      of Business In Another State                 □    5   Os
                                                                                                                                          Citizen or Subject of a              03       03         Foreign Nation                                  06       06
                                                                                                                                            Foreign Country
                                                                                                                                                                                    Click here for: )'{c1.!_llre
                                                                                                                                                                                                            of Suit Code Descri tions.




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     110 Insurance                                                                                         PERSONAL INJURY                    625 Drug Related Seizure                  422 Appeal 28 USC 158                         375 False Claims Act
     120 Marine                        310 Airplane                                                   O 365 Personal Injury                       ofPropeny 21 USC 881                  423 Withdrawal                                376 Qui Tam (31 USC
     130 Miller Act                    315 Airplane Product                                                 Product Liability                 690 Other                                     28 USC 157                                    3 729( a))
     140 Negotiable Instrument              Liability                                                 O 367 Health Care/                                                            1-----------..i"""'                               400 State Reapportionment
0    150 Recovery of Overpayment       320 Assault, Libel &                                                    Pharmaceutical                                                       .... ~~-=-==..&,.j=~----1~                        410 Antitrust
         & Enforcement of Judgment          Slander                                                            Personal Injury                                                                                                        430 Banks and Banking
0    151 Medicare Act                  330 Federal Employers'                                                  Product Liabilitv                                                                                                      450 Commerce
0    152 Recovery of Defaulted              Liability                                                 O    368 Asbestos Perso;al                                                        835 Patent - Abbreviated                      460 Deportation
          Student Loans             ___340 Marine                                                              Injury Product                                                               New Drug Application                      470 Racketeer Influenced and
          (Excludes Veterans)          345 Marine Product                                                      Liability                 .,___________                         __.:D    840 Trademark                                     Corrupt Organizations
0    153 Recovery of Overpayment            Liability                                                                                         _,----1,D
                                                                                                        PERSONALPROPERTY ~r-----=L~AB,..···-.•""o""R..,
                                                                                                                                            ......                                      880 Defend Trade Secrets                      480 Consumer Credit
         of Veteran's Benefits         350 Motor Vehicle                                              O 370 Other Fraud                       710 Fair Labor Standards                      Act of20l6                                    (15 USC 1681 or 1692)
0    160 Stockholders' Suits           355 Motor Vehicle                                              D 371 Truth in Lending                      Act                               1----------....i-~                                485 Telephone Consumer
0    190 Other Contract                    Product Liability                                          O 380 Other Personal                    720 Labor/Management                      ~Ii~                                              Protection Act
0    195 Contract Product Liability    360 Other Personal                                                   Property Damage                       Relations                             861 HIA (1395ft)                              490 Cable/Sat TV
0    196 Franchise                         Injury                                                     D 385 Propeny Damage                    740 Railway Labor Act                     862 Black Lung (923)                          850 Securities/Commodities/
                                       362 Personal Injury -                                                   Product Liability              751 Family and Medical                    863 DIWC/DIW-W (405(g))                           Exchange
                                           Medical Malpractice                                                                                    Leave Act                             864 SSID Title XVI                            890 Other Statutory Actions
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             .....             ---.,,...-·CWJL.;;;.·•.;;..··;;..··;;..·
                                                            ....RIGH'l'S;;..·_,·
                                                                        ·-· ·.·;;..·    .....               _SO___
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                                                                                                                                    .....
                                                                                                                                       , ··----~- 790 Other Labor Litigation            865 RSI (405(g))                        891 Agricultural Acts
     210 Land Condemnation                       440 Other Civil Rights                                    Habeas Corpus:                     791 Employee Retirement                                                           893 Environmental Matters
0    220 Foreclosure                             441 Voting                                                463 Alien Detainee                     Income Security Act       1-_-:no"'"·                                      ~ 895 Freedom of Information
                                                                                                                                                                                  ..""·.··""••·MAI.""·····••--"":"".--7:-u-·.-·
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     230 Rent Lease & Ejectment
     240 Torts to Land
     245 Tort Product Liability
     290 All Other Real Property
                                                 442 Employment
                                                 443 Housing/
                                                     Accommodations
                                                 445 Amer. w/Disabilities -
                                                                                                           510 Motions to Vacate
                                                                                                               Sentence
                                                                                                           530 General
                                                                                                           535 Death Penalty                     IMMIGRATION
                                                                                                                                                                                  870 Taxes (U.S. Plaintiff
                                                                                                                                                                                          or Defendant)
                                                                                                                                                                                  871 IRS-Third Party
                                                                                                                                                                                           26 USC 7609
                                                                                                                                                                                                                                    Act
                                                                                                                                                                                                                                896 Arbitration
                                                                                                                                                                                                                                899 Administrative Procedure
                                                                                                                                                                                                                                    Act/Review or Appeal of
                                                     Employment                                            Other:                            462 Naturalization Application                                                         Agency Decision
                                                 446 Amer. w/Disabilities -                                540 Mandamus & Other              465 Other Immigration                                                              950 Constitutionality of
                                                     Other                                                 550 Civil                             Actions                                                                            State Statutes

                                                                                                           560 Civil Detainee -
                                                                                                               Conditions of
                                                                                                               Confinement
V. ORIGIN            (Placean "X"inOneBoxOnly)
0    1 Original           D2       Removed from                                        03            Remanded from                 D4     Reinstated or       D     5 Transferred from             D   6 Multidistrict                    D 8 Multidistrict
        Proceeding                 State Court                                                       Appellate Court                      Reopened                    Another District                   Litigation -                            Litigation -
                                                                                                                                                                      (specify)                          Transfer                                Direct File
                                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                                 3.;..
                                                   i.:.5 .;_u·..;.      2-7-1 -et_se_q.:,__
                                                            5 ...;.·c...:.
                                                                    §::...             _______________________________                                                                                                                                           _
                                                     Brief description of cause:
                                                     Patent infringement
VII. REQUESTED IN                                  0           CHECK IF THIS IS A CLASS ACTION                                                DEMAND$                                          CHECK YES only if demanded in complaint:
     COMPLAINT:                                                UNDER RULE 23, F.R.Cv.P.                                                                                                        JURYDEMAND:                             0Ycs       0No

VIII. RELATED CASE(S)
                                                            (See instructions):
      IF ANY
DATE
March 25, 2021
FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT                                                                      APPL YING IFP                                        JUDGE                                    MAG.JUDGE
